 Case 4:06-cr-40057-JPG          Document 248 Filed 09/21/07            Page 1 of 1        Page ID
                                           #534



                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA,                          )
                                                   )
                               Plaintiff,          )
                                                   )
               vs.                                 )   Case No. 06-cr-40057-07-MJR
                                                   )
KEVIN PULLEY,                                      )
                                                   )
                               Defendant.          )

                                             ORDER

REAGAN, District Judge:

               On September 18, 2007 Defendant Kevin Pulley moved for an advance pre-sentence

investigation report and a continuance of trial.

               The Court hereby DENIES the motion (Doc. 243).

               As a result, the trial date of October 1, 2007 at 9:00 a.m. remains firm.

               IT IS SO ORDERED.

               DATED this 21st day of September 2007.


                                                            s/Michael J. Reagan
                                                            MICHAEL J. REAGAN
                                                            United States District Judge
